932 F.2d 959
    Dais (Thaddeus)v.Small &amp; Margolin, Small (Lewis), Lipshutz (Robert M.),Guarino (Angelo A., Honorable), Ehrlich (Charles), Castille(Ronald D.), Bradley (Edward F.), Casey (Robert P.), Martin(Frank), Fenney (Robert), Doyle (Thomas), Williams (Willie),Goode (W. Wilson), City of Philadelphia
    NO. 90-1100
    United States Court of Appeals,Third Circuit.
    APR 03, 1991
    
      1
      Appeal From:  E.D.Pa.
    
    
      2
      AFFIRMED.
    
    